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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA


JAMES EDWARD SCOTT,                  )               3:19-cv-00347-MMD-WGC
                                     )
                        Plaintiff,   )               MINUTES OF THE COURT
        vs.                          )
                                     )               October 20, 2020
NAPHCARE, et al.,                    )
                                     )
                        Defendants.  )
____________________________________ )

PRESENT: THE HONORABLE WILLIAM G. COBB, U.S. MAGISTRATE JUDGE

DEPUTY CLERK:        KAREN WALKER           REPORTER:        NONE APPEARING

COUNSEL FOR PLAINTIFF(S): NONE APPEARING

COUNSEL FOR DEFENDANT(S): NONE APPEARING

MINUTE ORDER IN CHAMBERS:

      Before the court is Defendants’ Motion to Stay Expert Disclosure Pending Outcome of
Defendants’ Motions to Dismiss (ECF No. 38). No timely response has been filed.

       Good cause appearing, Defendants’ Motion to Stay Expert Disclosure Pending Outcome
of Defendants’ Motions to Dismiss (ECF No. 38) is GRANTED. All deadlines set forth in the
court’s Scheduling Order (ECF No. 23), including the disclosure of expert witnesses, are
STAYED until sixty (60) days after the court issues a decision on Defendants’ Motions to Dismiss
(ECF Nos. 19 and 36).

       IT IS SO ORDERED.

                                            DEBRA K. KEMPI, CLERK

                                            By:        /s/______________________
                                                   Deputy Clerk
